                                                         Entered on Docket
                                                         December 28, 2009
                                                         GLORIA L. FRANKLIN, CLERK
                                                         U.S BANKRUPTCY COURT
                                                         NORTHERN DISTRICT OF CALIFORNIA




                                                         The following constitutes
 1    DEVIN DERHAM-BURK #104353                          the order of the court. Signed December 23, 2009
      CHAPTER 13 STANDING TRUSTEE
 2    P O BOX 50013
      SAN JOSE, CA 95150-0013
 3                                                             ________________________________________
      Telephone: (408) 354-4413                                            Roger L. Efremsky
 4    Facsimile: (408) 354-5513                          ________________________________________
                                                                         U.S. Bankruptcy Judge

 5    Trustee for Debtors

 6

 7

 8                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
 9                                         SAN JOSE DIVISION

10

11    In Re:                                             )         Chapter 13
                                                         )
12    GEORGE EARL WEISEL                                 )         Case No. 09-56955 RLE
                                                         )
13    ANGELINA CECILIA WEISEL                            )         ORDER CONFIRMING PLAN
                                        Debtors          )
14

15    The Debtors filed a Plan under Chapter 13 of the Bankruptcy Code on Aug 20, 2009, a copy

16    of which was served on creditors (and an Amended Plan on Oct 06, 2009). After hearing on

17    notice on Dec 10, 2009, the Court finds that:

18    1. The Plan complies with 11 U.S.C. §1325(a), and other applicable bankruptcy laws, rules
19       and procedures including 11 U.S.C. §1325 (b) (1) (A) or (B) if the Trustee or an
20       unsecured creditor timely objected to a plan.
21    THEREFORE, IT IS ORDERED THAT:
22    1. The Debtors' Amended Plan filed on Oct 06, 2009 is confirmed.
23    2. The future income of the Debtors shall be submitted to the supervision and control of
24       DEVIN DERHAM-BURK, Trustee herein, as is necessary for the execution of the Plan.
25       /
26       /
27       /

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 1    3. Any creditor whose claim is entirely disallowed by final non appealable order, and any

 2       creditor listed in the Debtors' original Schedules that has not filed a proof of claim by the

 3       claims bar date need not be served with notice of any subsequent action in this case by

 4       the Debtors or the Trustee unless such creditor files a request for special notice with the

 5       Court and serves such request on the Trustee and Debtors' attorney.           Notwithstanding the

 6       above, if the proposed action would adversely impact a creditor, that creditor must be

 7       served notice.

 8    4. Until the Plan is completed, dismissed or converted to a case under a different chapter of

 9       the Bankruptcy Code, the Debtors shall, pursuant to the terms of the Plan, pay to the

10       Trustee the sum of: $385.67

11       no later than the last day of each month, at P O BOX 50013, SAN JOSE, CA

12       95150-0013.

13    5. If the Debtors fail to timely tender a payment as set forth above, the Plan shall be

14       considered in default.    Upon written notice of default by the Trustee, the Debtors shall,

15       within twenty (20) days of said notice, either: 1) cure the default; or 2) meet and confer

16       with the Trustee AND enter into an agreement resolving the default in a manner

17       acceptable to the Trustee; or 3) file and serve an Application to Modify Plan which shall

18       propose terms under which the Plan is not in default and which shall provide for Plan

19       completion within sixty (60) months after the time that the first payment under the

20       original plan was due.

21    6. Except as otherwise provided in the Plan or in the Order Confirming Plan, the Trustee

22       shall make payments to creditors under the Plan.

23

24                                         * * * END OF ORDER * * *

25    Approved as to form and content.
26    Dated: Dec 22, 2009                         /s/ DEVIN DERHAM-BURK

27                                                Chapter 13 Standing Trustee

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 Case Name: GEORGE EARL WEISEL                                Case No.: 09-56955 RLE
            ANGELINA CECILIA WEISEL




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